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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                                 No. 14 CR 564
         v.
                                                 Judge John J. Tharp Jr.
MOHAMMED HAMZAH KHAN



                 GOVERNMENT’S SENTENCING MEMORANDUM

         The UNITED STATES OF AMERICA, through ZACHARY T. FARDON,

United States Attorney for the Northern District of Illinois, respectfully submits its

Sentencing Memorandum for defendant Mohammed Hamzah Khan. This matter is

set for sentencing on November 18, 2016.1

                                      Introduction

         On October 4, 2014, Mohammed Hamzah Khan, then a 19 year-old — just 16

months removed from high school, where he was known as a good student, a leader,

reliable, and courteous2 — attempted to execute a carefully calculated plan to take

his younger siblings (Minor 1 and Minor 2) halfway around the world to join and

support the barbaric Islamic State of Iraq and the Levant. This was not an impulsive

decision or a moment of indiscretion. Rather, Khan had planned his travel to join

ISIL for months, and understood the gravity of his actions. He was committed to




1The Presentence Investigation Report is cited “PSR,” the plea agreement is cited as “Plea,”
and the Government’s Version is cited as “GV.” Other docket entries in this case are cited as
“R.” followed by the docket number.
2   See PSR at ¶64.
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abandoning his family, his education, his community, and his country for ISIL, and

he understood that he would likely die for its cause, and that he was bringing his

minor siblings into a war zone. Fortunately for Khan and his family, the Federal

Bureau of Investigation interceded and stopped Khan and his siblings at O’Hare

before they were able to travel to join ISIL.

      In spite of the tortured judgment that led Khan to O’Hare on October 4, 2014,

Khan has taken an important first step in rejecting ISIL and taking advantage of his

second chance by cooperating with the government’s investigation of ISIL and his

recruiters. Khan’s cooperation has benefited active criminal investigations and our

foreign partners.

      Through Khan’s debriefings, he outlined his recruitment by ISIL and its

supporters through social media and electronic communications. He identified his

recruiters and explained how they influenced his transition from a student

empathetic to the plight of the victims of the Assad regime to supporting an

organization that relies on savagery, fear, and propaganda to govern.

      Based on Khan’s cooperation, and in consideration of Title 18, United States

Code, Section 3553, and Khan’s plea agreement, the government respectfully

requests that this Court impose a 60 month sentence of imprisonment followed by

180 months of intensive and customized supervised release, as outlined in Exhibit A.

                                Procedural History

      On October 6, 2014, the government charged Khan through a one count

criminal complaint alleging that Khan attempted to provide material support,




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namely personnel, to the Islamic State of Iraq and the Levant, in violation of Title 18,

United States Code, Section 2339B(a)(1). (R. 1). On January 8, 2015, a grand jury

sitting in the Northern District of Illinois returned a one-count indictment against

Khan alleging the same offense. (R. 37.) On October 29, 2015, Khan entered a plea of

guilty to the sole count of the indictment. (R. 80.)

      Pursuant to the plea agreement, Khan agreed to fully and truthfully cooperate

in any matter in which he is called upon to cooperate by the U.S. Attorney’s Office for

the Northern District of Illinois. (Plea at 9.) Khan agreed to provide “complete and

truthful information in any investigation and pre-trial preparation and complete and

truthful testimony in any criminal, civil, or administrative proceeding, including in

the United States or any foreign prosecution.” (Id.) If Khan met his cooperation

obligations, the government agreed to recommend to the Court a sentence of 60

months’ imprisonment. (Plea at 9–10.)

                                 Khan’s Cooperation

      As noted above, Khan has met his cooperation obligations. Khan provided four

extensive debriefings, amounting to nearly 20 hours of questioning. Moreover, Khan

has committed to cooperating throughout his incarceration and during the entire

length of his supervised release, if called upon to do so. Khan may be asked to

participate in additional proffers in the future, testify before grand juries, and testify

in court proceedings, including trials in the United States and abroad.

      Most significantly, the government benefited from information provided by

Khan that furthered criminal investigations of two ISIL fighters and recruiters. First,




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Khan provided extensive information about his communication with and recruitment

by an ISIL recruiter and fighter, described here as Individual 1. Khan’s information

benefited search warrants for approximately 16 of Individual 1’s electronic

communication accounts by further establishing his modus operandi and his identity.

      Khan’s cooperation with respect to Individual 1, however, will no longer be

needed. According to open source reporting, Individual 1 is now deceased. Despite the

fact that Khan will not need to testify against Individual 1, his cooperation was still

significant in that it benefited the above described criminal investigations, it allowed

the government to provide valuable information to foreign partners, and it put the

government (and Individual 1’s home country) in a position to pursue criminal

charges against Individual 1 had he come into U.S. or foreign custody.

      Second, Khan provided information about another ISIL fighter and recruiter,

described here as Individual 2. Though Individual 2 has not yet been criminally

charged, information from Khan regarding Individual 2 has been corroborated by

other witnesses similarly recruited by Individual 2.

      The investigation of Individual 2 is ongoing. Should there be charges brought

against Individual 2, the government intends to rely on information concerning

Individual 2 provided by Khan and to call Khan as a trial witness against Individual

2, should Individual 2 proceed to trial. Khan’s information concerning Individual 2 is

particularly valuable insofar as Khan recalled details about Individual 2 that will

likely be helpful in establishing proof of identity.




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                          Maximum Potential Sentence

      Because Khan committed his offense in 2014, he faces a maximum sentence of

15 years’ imprisonment pursuant to the then-applicable provisions of Title 18, United

States Code, Section 2339B(a)(1),3 and a fine of up to $250,000. Pursuant to Title 18,

United States Code, Sections 3583(j) and 2332b(g)(5)(B), this Court may impose a

term of supervised release of any term of years, including life. See PSR at ¶77.

                 Sentencing Guidelines and Criminal History

Offense Level Calculations

      The November 2016 edition of the U.S. Sentencing Guidelines Manual applies

in this case. The government agrees with the calculation of Khan’s advisory Guideline

range as calculated by the U.S. Probation Office, except for Probation’s decision not

to apply the enhancements for the use of minors in commission of the offense in

accordance with Guideline § 3B1.4, as described below. See PSR at 8-10.

      The base offense level is 26, pursuant to Guideline § 2M5.3(a). The offense level

should be increased by two levels because the offense involved the provision of

material support with the intent, knowledge, or reason to believe that the support

was to be used to commit or assist in the commission of a violent act, pursuant to

Guideline § 2M5.3(b)(1)(E).

      Further, the offense level should be increased by 12 levels, pursuant to

Guideline § 3A1.4(a), because the offense is a felony that involved a federal crime of




3On June 2, 2015, Congress subsequently amended Section 2339B to provide for a maximum
punishment of 20 years’ imprisonment. Pub. L. 114–23, Title VII.


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terrorism as defined in Title 18, United States Code, Section 2332b(g)(5), namely, the

offense: (1) was calculated to influence or affect the conduct of government by

intimidation and coercion, and to retaliate against government conduct; and (2) was

a violation of Title 18, United States Code, Section 2339B. See PSR at ¶26.

       This Court should also apply a two-level enhancement pursuant to Guideline

§ 3B1.4, because Khan attempted to use persons less than eighteen years of age,

namely Minor 1 and Minor 2, to commit the offense or assist in avoiding detection of,

or apprehension for, the offense. (The U.S. Probation Office disagrees with the

government. See PSR at ¶27. Khan also reserved the right to contest the application

of Guideline § 3B1.4.) The Seventh Circuit has held that a defendant uses a minor if

his “affirmative actions involved minors in his criminal activities,” which would

include “when the minor is a partner in the criminal offense” or “when the minor’s

role is subordinate to that of the criminal defendant.” United States v. Ramsey, 237

F.3d 853, 859 (7th Cir. 2001). See also U.S.S.G. § 3B1.4, Application Note 1 (“‘Used

or attempted to use’ includes directing, commanding, encouraging, intimidating,

counseling, training, procuring, recruiting, or soliciting.”). Here, Khan’s “actions

involved minors in his criminal activities,” namely bringing his siblings to a war zone

to join ISIL.

       Khan has clearly demonstrated a recognition and affirmative acceptance of

personal responsibility for his criminal conduct, and a result, a two-level reduction in

the offense level is appropriate, in accordance with Guideline § 3E1.1(a). Khan also

is entitled to an additional one-level reduction in offense level, pursuant to Guideline




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§ 3E1.1(b), because: he timely notified the government of his intention to enter a plea

of guilty. Khan’s timely guilty plea permitted the government to avoid preparing for

trial and conducting extensive pre-trial litigation, and permitted the Court to allocate

its resources more efficiently. See PSR at ¶¶31-32.

Criminal History Category

      Khan has no prior criminal history, and thus, has earned no criminal history

points. Pursuant to Guideline § 3A1.4(b), however, Khan’s criminal history category

is VI. See PSR at ¶40.

Anticipated Advisory Sentencing Guidelines Range

      Therefore, Khan’s anticipated offense level is 39, which, when combined with

a criminal history category of VI, results in an anticipated advisory Sentencing

Guideline sentence of 180 months’ imprisonment, pursuant to Guideline § 5G1.1(a)

(as the statutory maximum sentence is 180 months’ imprisonment), in addition to

any supervised release and fine the Court may impose.

           Sentencing Analysis in Accordance with Section 3553(a)

      As set out in Title 18, United States Code, Section 3553(a), the Court must

consider several factors in determining the sentence, including the history and

characteristics of Khan, the nature and circumstances of the offense, and the need for

the sentence imposed to reflect the seriousness of the offense, promote respect for the

law, provide adequate deterrence, and protect the public. Each of these factors is

discussed below:




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History and Characteristics of Khan

      Khan’s sentence should reflect his history and characteristics, both as they

aggravate and mitigate his offense conduct. In mitigation, this Court should consider

his young age and his lack of prior criminal history. While Khan had just turned 19

when he attempted to join ISIL, Khan’s radicalization process and online recruitment

started most likely when he was only 17 or 18. Furthermore, the genesis of Khan’s

interest in the conflict of Syria appears to have initially focused on the plight of the

Syrian people under attack by the Assad regime.

      This Court should also consider Khan’s mere act of attempting to cooperate in

good faith as mitigation. Cooperation against a foreign terrorist organization

particularly in the context of believing one had a religious obligation to support it, is

not the typical dilemma of the traditional federal cooperator.

      By cooperating, Khan has taken an important step in turning away from ISIL

and the purported religious authority of its recruiters and facilitators. Khan not only

attempted to cooperate against Individuals 1 and 2, he also offered to testify against

other ISIL recruiters, fighters, and supporters, including Mizanur Rahman.4

Attempting to cooperate against individuals like Rahman sends a strong counter-

narrative that helps delegitimize their self-proclaimed authority.



4 According to the United Kingdom’s Crown Prosecution Service, Mizanur Rahman was
convicted in London’s central criminal court in 2016 for encouraging support for ISIL. See
http://blog.cps.gov.uk/2016/08/anjem-choudary-and-mohammed-rahman-convicted-of-
inviting-support-for-daesh.html. See also “Mizanur Rahman: Anjem Choudary’s right hand
man - BBC Newsnight.” See https://www.youtube.com/watch?v=UMdPEwrMRM4. Khan’s
testimony, however, ultimately was not needed in the case of Rahman and was moot for
others as some of his ISIL contacts are now deceased.


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      In aggravation, however, this Court should consider Khan’s commitment to

ISIL, including the fact that he was willing to give his life (and the life of his minor

siblings) to its cause—even when news reports made it clear that ISIL was

committing (and boasting about) atrocities in Syria and Iraq. Khan’s own words, in a

letter he left behind for his parents that the FBI subsequently recovered, make his

intentions clear. Khan wrote that he had an obligation to “migrate” to the “Islamic

state” now that it has “been established,” and that he could no longer live in a country

where he could not openly discuss jihad: “I cannot live under a law in which I’m afraid

to speak my beliefs. I want to be ruled by the sharrah, the best law for all-mankind.

Tell me, if we truly were free, why do we have to live in fear? True, we can practice

other aspects of our deen but why can’t we openly talk about jihad.” (GV at 6.)

      In analyzing Khan’s history and characteristics, the Court should also consider

Khan’s online sophistication and his use of multiple online aliases, monikers, and

noms de guerre. Khan used multiple electronic communications platforms and

accounts to communicate with ISIL fighters and supporters. These platforms allowed

him to connect with ISIL fighters, recruiters, and supporters, including Individual 1,

Individual 2, Mizanur Rahman, Avin Marsalis Brown,5 and others. Through these

connections, Khan became indoctrinated into ISIL’s ideology, learned the logistics

required to get into Northern Syria, and acquired the bona fides necessary to be




5 Brown pleaded guilty in the Eastern District of North Carolina (case #14-CR-58) to
conspiracy to provide material support to terrorists, in violation of 18 U.S.C. § 2339A.


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admitted into ISIL. Khan’s sentence, particularly his conditions of supervised release,

should account for his online sophistication.

Nature and Circumstances of the Offense

         The nature of this offense could not be more serious short of Khan succeeding

with his plan and actually fighting for ISIL. Khan sought to offer himself to an

organization committed to religious and ethnic slaughter, and was well aware of

ISIL’s barbaric nature. The following timeline of selected events shows what was

happening as Khan planned his path to attempt to join ISIL in 2014:

                                                  Examples of Highly Publicized
    Approx.      Hamzah Khan’s                    ISIL Atrocities and Related
    Timeline     Path to ISIL in 2014             Events in 2014
    Jan.                                          ISIL seizes the Iraqi city of Fallujah
                                                  and the Syrian city of Raqqa.6
    Early Feb.                                    Al Qaeda announced its break with
                                                  ISIL.7
    Feb – Mar.   Khan and Avin Brown
                 corresponded online about
                 violent jihad and their
                 respective interest in
                 traveling overseas to support
                 foreign terrorist
                 organizations. Ultimately,
                 Brown introduced Khan to
                 Individual 1.




6 Sly, Liz, “Al-Qaeda force captures Fallujah amid rise in violence in Iraq,” The Washington
Post, January 3, 2014, https://www.washingtonpost.com/world/al-qaeda-force-captures-
fallujah-amid-rise-in-violence-in-iraq/2014/01/03/8abaeb2a-74aa-11e3-8def-
a33011492df2_story.html. “ISIL recaptures Raqqa from Syria’s rebels,” Al Jazeera, January
14, 2014, http://www.aljazeera.com/news/middleeast/2014/01/isil-recaptures-raqqa-from-
syrias-rebels-2014114201917453586.html.
7Hubbard, Ben, “Al Qaeda Breaks with Jihadist Group in Syria Involved in Rebel Infighting,”
New             York             Times,             Feb.              3,             2014,
http://www.nytimes.com/2014/02/04/world/middleeast/syria.html?_r=0


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    March         Khan and one of his siblings
                  begin communicating with
                  Individual 1. These
                  communications continued
                  intermittently until they
                  attempted to travel to join
                  ISIL. Several examples are
                  cited below.
    June 10                                          ISIL took control of the Iraqi city of
                                                     Mosul.8
    June 11                                          ISIL took control of the Iraqi city of
                                                     Tikrit.9
    June 29                                          ISIL’s leader, Abu Bakr al-
                                                     Baghdadi, announced ISIL’s name
                                                     change to the Islamic State and
                                                     declared the caliphate had been
                                                     formed.10
    July 21       Khan obtained a job to earn
                  money to travel to Syria and
                  to take his siblings with him.
    Early Aug.                                       ISIL captured the Yazidi town of
                                                     Sinjar and called for the “systematic
                                                     destruction of the entire Yazidi
                                                     people” in early August 2014.11
    Aug. 3                                           ISIL took control of Mosul Dam.12
    Aug. 6 – 22   Khan communicated with
                  Individual 1 through an
                  electronic communication
                  service on various occasions.

8   “Iraqi city of Mosul falls to jihadists,” CBS News, June 10, 2014,
http://www.cbsnews.com/news/iraq-city-of-mosul-falls-into-hands-of-isis-jihadists-after-
police-army-abandon-posts/.
9  “Iraq city of Tikrit falls to ISIL fighters,” Al Jazeera, June 11, 2014,
http://www.aljazeera.com/news/middleeast/2014/06/iraqi-city-tikrit-falls-isil-fighters-
2014611135333576799.html.
10Rubin, Alissa J., “Militant Leader in Rare Appearance in Iraq,” New York Times, July 5,
2014,    http://www.nytimes.com/2014/07/06/world/asia/iraq-abu-bakr-al-baghdadi-sermon-
video.html?_r=0.
11   Statement of the President of the United States, August 7, 2014.
12 Duke, Alan and Hamdi Alkhshali, “ISIS claims gains, takes control of Iraq’s largest
hydroelectric dam,” CNN, August 4, 2014, http://www.cnn.com/2014/08/03/world/meast/iraq-
crisis-isis/.


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 Aug. 7           Khan reached out online to         The U.S. launched airstrikes against
                  Mizanur Rahman and asked           ISIL.13
                  whether teaching Islam
                  (“da’wa”) was more
                  important than joining the
                  caliphate (ISIL).
 Aug. 13          Khan researched flights to
                  Turkey.
 Aug. 20                                             ISIL beheaded American journalist
                                                     James Foley in mid-August 2014.14
 Aug. 21          Khan purchased phone
                  equipment for the trip.
 Aug. 28          Khan purchased a portable
                  mini-wireless router for the
                  trip.
 Sept. 9                                             ISIL beheaded American journalist
                                                     Steven Sotloff.15
 Sept. 11         Khan emailed the U.S. State
                  Department to attempt to
                  expedite one of his siblings
                  receiving his/her passport.
 Sept. 13                                            ISIL beheaded British aid worker
                                                     David Haines.16
 Sept. 22                                            ISIL publicly encouraged Muslims
                                                     around the world to kill U.S. citizens
                                                     and westerners.17




13   Statement of the President of the United States, August 7, 2014.
14 Carter, Chelsea J., “Video shows ISIS beheading U.S. journalist James Foley,” CNN,
August 20, 2014, http://www.cnn.com/2014/08/19/world/meast/isis-james-foley/. See also
https://www.cpj.org/killed/2014/james-foley.php.
15Carter, Chelsea J. and Ashley Fantz, “ISIS video shows beheading of American journalist
Steven Sotloff,” CNN, September 9, 2014, http://www.cnn.com/2014/09/02/world/meast/isis-
american-journalist-sotloff/.
16Botelho, Greg, “ISIS executes British aid work David Haines; Cameron vows justice,” CNN,
September 14, 2014, http://www.cnn.com/2014/09/13/world/meast/isis-haines-family-
message/.
17 Ross, Brian and Anthony Castellano, “New ISIS Recording Urges Muslims to Kill Civilians
in     US-Led     Coalition    Countries,”    ABC     News,      September    22,   2014,
http://abcnews.go.com/Blotter/isis-recording-urges-muslims-kill-civilians-us-
led/story?id=25669372.


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 Sept. 26       Khan purchased three airline
                tickets for $2,679 for himself
                and his siblings to fly from
                Chicago to Istanbul.
 Sept. 27       Khan had electronic
                communications with
                Individual 1.
 Sept. 27 –     Khan obtained Turkish Visas
 29             for himself and his siblings.
 Sept. 29                                        ISIL started its effort to conquer the
                                                 Turkish border town of Kobani.18
 Oct. 3         Khan sold his Xbox for cash.     ISIL beheaded British aid worker
                                                 Alan Henning and threatened
                                                 American aid worker Peter Kassig.19
 Oct. 4         Khan and his siblings
                arrived at O’Hare seeking to
                travel to Syria.

        Despite these events, Khan did not turn back from his plan. Whatever his

original motives were, by October 2014 Khan intended to support ISIL. Because of

the seriousness of his offense, Khan deserves a significant term of imprisonment

coupled with a lengthy term of intensive supervised release, and stiff consequences

for failures to comply with his supervised release.

The Seriousness of the Offense, Providing Adequate Deterrence, and
Protecting the Public

        Khan’s sentence in this case should also reflect the serious nature of providing

material support to a foreign terrorist organization, especially when the material

support takes the form of providing personnel to a group like ISIL. Such a sentence


18Narayan, Chandrika and Holly Han, “ISIS threat: Syrian town fears massacre; Obama
admits      underestimating       rise,”      CNN,         September  29,      2014,
http://www.cnn.com/2014/09/29/world/meast/isis-syria-iraq-strikes/.
19“ISIS Releases Video Showing Beheading of Alan Henning,” NBC News, October 3, 2014,
http://www.nbcnews.com/storyline/isis-uncovered/isis-releases-video-showing-beheading-
alan-henning-n208816.


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will provide notice that, absent significant cooperation, courts will impose lengthy

terms of imprisonment for individuals who travel or attempt to travel overseas to

support foreign terrorist organizations that pose a threat to the United States both

domestically and abroad. The threat is real, with at least 250 individuals from the

United States who have joined or attempted to fight with extremists in Syria and

Iraq, as well as other domestic threats either directed or inspired by ISIL.20

Therefore, despite Khan’s cooperation with the government’s investigation, a

sentence of 60 months’ incarceration is still appropriate.

                                Supervised Release

        Given the risk of continued harm that Khan’s actions represent, the

government recommends the Court impose a term of at least 180 months of

supervised release to further the goal of protecting the public, while at the same time

placing Khan in the best possible position to succeed after incarceration. A lengthy

term coupled with customized conditions of supervision by the U.S. Probation Office

will deter Khan – especially in light of the intensive online supervision and the threat

of re-incarceration – from committing further offenses. With these goals in mind, the

government recommends the conditions of supervised release set forth in Exhibit A.

        Lastly, the government notes that Khan has waived any right to seek early

termination until after serving at least 120 months of his term of supervised release

(Plea at ¶ 28), or to seek modification of conditions related to the U.S. Probation



20House Homeland Security Committee Task Force on Combating Terrorist and Foreign
Fighter       Travel,       September       2015,   https://homeland.house.gov/wp-
content/uploads/2015/09/TaskForceFinalReport.pdf.


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Office’s search authority and the Computer and Internet Monitoring Program for at

least the first 90 months of supervised release. (Plea at ¶ 25.f & 25.g.) These sunset

provisions are intended to allow for an extended minimum period of observation for

Khan, while creating an incentive for him to comply with the terms of supervised

release and become a productive member of the community.

                                    Conclusion

      Accordingly, the government respectfully requests that this Court impose a

sentence of 60 months’ imprisonment followed by 180 months of the intensive

supervised release described above, no fine, and a $100 special assessment.

                                              Respectfully submitted,
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